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                    9
                   10                                    UNITED STATES DISTRICT COURT

                   11                             DISTRICT OF NEVADA, SOUTHERN DIVISION

                   12                                                    ***

                   13 JACQUELYN NICKLER,                                    CASE NO. 2:18-cv-01668-JCM-VCF

                   14                      Plaintiff,
                                                                            STIPULATION AND ORDER TO
                   15             vs.                                       EXTEND DISCOVERY DEADLINES

                   16 CLARK COUNTY, a political subdivision of              [SECOND REQUEST]
                      the State of Nevada, including Clark County
                   17 District Attorney’s Office and Clark County
                      Court Administration Office,
                   18
                                           Defendants.
                   19
                   20
                   21            Pursuant to LR 6-1 and LR 26-4, the parties, by and through their respective counsel of

                   22 record, hereby stipulate and request that this Court extend discovery in the above-captioned case
                   23 ninety (90) days from the current deadline of January 29, 2021, up to and including Thursday, April
                   24 29, 2021. In addition, the parties request that the all other future deadlines contemplated by the
                   25 Discovery Plan and Scheduling Order be extended pursuant to Local Rule. In support of this
                   26 Stipulation and Request, the parties state as follows:
                   27            1.        On May 15, 2020 Plaintiff filed her Second Amended Complaint in the United

                   28                      States District Court.
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& SMITH LLP             4827-0767-1254.1
ATTORNEYS AT LAW
                        Case 2:18-cv-01668-JCM-VCF Document 61 Filed 01/11/21 Page 2 of 4




                    1            2.         On May 29, 2020, Defendant filed its Answer to the Second Amended Complaint.

                    2            3.         On July 29, 2020 the parties conducted a 26(f) conference.
                    3            4.         Plaintiff served her Initial and Supplemental Document and Witness Disclosures.
                    4
                                 5.         Defendant served its Initial and Supplemental Document and Witness
                    5
                                            Disclosures.
                    6
                                                                 DISCOVERY REMAINING
                    7
                                 1.         The parties will continue participating in written discovery.
                    8
                                 2.         Defendant will take the deposition of Plaintiff.
                    9
                                 4.         Plaintiff will take the deposition of Defendant’s Person Most Knowledgeable.
                   10
                                 5.         The parties may take the depositions of any and all other witnesses garnered
                   11
                                            through discovery.
                   12
                                           WHY REMAINING DISCOVERY HAS NOT BEEN COMPLETED
                   13
                                 The parties aver, pursuant to Local Rule 26-4, that good cause exists for the following
                   14
                        requested extension. This Request for an extension of time is not sought for any improper purpose
                   15
                        or other purpose of delay. Rather, it is sought by the parties solely for the purpose of allowing
                   16
                        sufficient time to conduct discovery.
                   17
                                 The parties seek additional time to complete discovery for several reasons, none of which
                   18
                        are for an improper purpose or for the purpose of delay. The parties seek additional time due to the
                   19
                        logistical and administrative challenges of counsel and Defendant working remotely due to the
                   20
                        ongoing national public health crisis. Additionally, Plaintiff’s counsel is still catching up from the
                   21
                        two month period that he was adversely affected by COVID-19 and a complication that reduced his
                   22
                        ability to work full time. Additionally he had a death in the family the second week of November
                   23
                        and missed some additional work during that time. Also, family commitments during the holidays
                   24
                        this year were particularly demanding. Accordingly, and in short, the parties request an extension
                   25
                        of the current discovery deadlines to allow the parties an opportunity to fully understand the nature
                   26
                        of Plaintiff’s claims and Defendant’s defenses thereto.
                   27
                                 Extension or Modification of The Discovery Plan and Scheduling Order. LR 26-4 governs
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& SMITH LLP
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                    1 modifications or extension of the Discovery Plan and Scheduling Order. Any stipulation or motion
                    2 to extend or modify that Discovery Plan and Scheduling Order must be made no later than twenty-
                    3 one (21) days before the expiration of the subject deadline and must comply fully with LR 26-4.
                    4            This is the second request for extension of time in this matter. The parties respectfully

                    5 submit that the reasons set forth above constitute compelling reasons for the short extension.
                    6            The following is a list of the current discovery deadlines and the parties’ proposed

                    7 extended deadlines:
                    8
                    9     Scheduled Event          Current Deadline                      Proposed Deadline
                   10
                   11     Discovery Cut-off        Friday, January 29, 2021              Thursday, April 29, 2021
                          Deadline to Amend        Monday, November 2, 2020              Closed
                   12     Pleadings or Add
                          Parties
                   13
                          Expert Disclosure        Tuesday, December 1, 2020             Closed
                   14     pursuant to FRCP26
                          (a)(2)
                   15
                          Rebuttal Expert          Thursday, December 31, 2020           Closed
                   16     Disclosure pursuant
                          to FRCP. 26(a)(2)
                   17     Dispositive Motions      Monday, March 1, 2021                 Monday, May 31, 2021
                   18     Joint Pretrial Order     Wednesday, March 31, 2021           Wednesday, June 30, 2021
                   19                                                      If dispositive motions are filed, the deadline
                                                                           for filing the joint pretrial order will be suspended
                   20 ///                                                  until 30 days after decision on the dispositive
                                                                           motions or further court order.
                   21
                   22 ///
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                   24 ///
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                   26 ///
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                    1              WHEREFORE, the parties respectfully request that this Court extend the discovery

                    2 period by ninety (90) days from the current deadline of January 29, 2021 up to and including April
                    3 29, 2021, and the other dates as outlined in accordance with the table above.
                    4      DATED this 8th day of January, 2021.              DATED this 8th day of January, 2021.
                    5      LEWIS BRISBOIS BISGAARD & SMITH LLP               KEMP & KEMP, ATTORNEYS AT LAW
                    6
                           /s/ Cheryl A. Grames                              /s/ James P. Kemp
                    7      Robert W. Freeman, Esq.                           James P. Kemp, Esq.
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                    9
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                   11      Las Vegas, Nevada 89118
                           Attorney for Defendant
                   12      Clark County
                   13
                   14
                                                                     ORDER
                   15
                                 IT IS SO ORDERED:
                   16
                   17                                     January
                                             11th day of _____________,
                                 Dated this _____                       2021.
                   18
                   19                                         ______________________________________
                   20                                         UNITED STATES MAGISTRATE JUDGE

                   21
                   22
                   23
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